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                 IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES,                       )
                                     )
      v.                             )   Crim. No. 21cr35
                                     )   Hon. Rudolph Contreras
JACK WADE WHITTON,                   )
      Defendant.                     )
____________________________________)

                                 MOTION TO WITHDRAW

       Comes now undersigned counsel for Defendant Jack Wade Whitton and moves to

withdraw as counsel for Defendant for the reason that Defendant yesterday telephonically

terminated undersigned as counsel.

                                                     Respectfully submitted,

                                                     _____/s/____________
                                                     John C. Kiyonaga

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                                                     Alexandria, Virginia 22314
                                                     Telephone: (703) 739-0009
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                                                     Counsel for the Defendant

                                Certificate of Electronic Service

       I hereby certify that on November 9, 2022, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF System, with consequent service on all parties

                                                     ____/s/_____________
                                                     John C. Kiyonaga




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